Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 1 of 33




           Exhibit D-3
         Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 2 of 33




                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


   SUSAN BYRNE,                              :
     Plaintiff                               :     Civil Action No.
                                             :
   vs.                                       :     3:17-cv-01104-VLB
                                             :
   YALE UNIVERSITY,                          :
     Defendant                               :     DECEMBER 30, 2019
                                             :

               DEFENDANT YALE UNIVERSITY’S TRIAL EXHIBIT LIST,
            With Plaintiff’s Objections and Defendant’s Responses Thereto

               In addition to any documents Plaintiff has identified as exhibits,

Defendant Yale University identifies the following documents as potential trial

exhibits.

 EXHIBIT            DESCRIPTION
    A               February 19, 2008 Byrne Offer Letter, Byrne000010–11

                    PLAINTIFF’S OBJECTION:

                    DEFENDANT’S RESPONSE TO OBJECTION:
    B               May 9, 2013 Department Case Summary, BYRNE007769-75

                    PLAINTIFF’S OBJECTION:

                    DEFENDANT’S RESPONSE TO OBJECTION:
    C               September 12, 2013 E-mail from Rolena Adorno to Emily
                    Bakemeier & Mary Miller, BYRNE004814-16

                    PLAINTIFF’S OBJECTION:

                    DEFENDANT’S RESPONSE TO OBJECTION:
    D               September 30, 2013 E-mail from Rolena Adorno to Mary Miller,
                    BYRNE004813

                    PLAINTIFF’S OBJECTION:

                    DEFENDANT’S RESPONSE TO OBJECTION:

                                         1
    Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 3 of 33




E             May 8, 2014 E-mail from Mary Miller to Lara Beise
              BYRNE003025-27

              PLAINTIFF’S OBJECTION:

              DEFENDANT’S RESPONSE TO OBJECTION:
F             June 23, 2014 E-Mail from Susan Byrne to Kevin Poole,
              BYRNE018986

              PLAINTIFF’S OBJECTION: 402, 403, 801, 901

              DEFENDANT’S RESPONSE TO OBJECTION: This is an email
              from Yale’s email system. Defendant will not offer the
              statement of Kevin Poole (who is listed as one of Plaintiff’s
              trial witnesses) for its truth unless he testifies, but in any
              event will offer it for the context it provides for Plaintiff’s
              admission in her June 2014 email that she knows she will not
              be awarded tenure. Her statement is admissible as an
              admission.
G             July 1, 2014 Faculty Handbook, p. 31 Byrne000012–184

              PLAINTIFF’S OBJECTION:

              DEFENDANT’S RESPONSE TO OBJECTION:
H             July 26, 2014 E-mail from Rolena Adorno to FAS Dean, Amy
              Hungerford & John Dovidio, BYRNE004812

              PLAINTIFF’S OBJECTION: 402, 403, 801, 901

              DEFENDANT’S RESPONSE TO OBJECTION: This email
              provides relevant background for the timeline of Plaintiff’s
              tenure consideration. It is a business record, as it is an email
              from Yale’s email system.
I             August 15, 2014 E-mail from Susan Byrne to Paulo Moreira,
              BYRNE018987

              PLAINTIFF’S OBJECTION: 402, 403, 801, 901

              DEFENDANT’S RESPONSE TO OBJECTION: This is an email
              from Yale’s email system that contains an admission of the
              Plaintiff and also contains a statement by Paolo Moreira (who
              is listed as one of Plaintiff’s trial witnesses) that will not be
              offered for the truth unless he testifies, but in any event will be
              offered for its impact on Plaintiff’s state of mind.
J             September 9, 2014 E-mail from Susan Byrne to Kevin Poole
              BYRNE018984-85

                                     2
    Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 4 of 33




              PLAINTIFF’S OBJECTION: 402, 403, 801, 901

              DEFENDANT’S RESPONSE TO OBJECTION: This is an email
              from Yale’s email system that contains an admission of the
              Plaintiff and also contains a statement by Kevin Poole (who is
              listed as one of Plaintiff’s trial witnesses) that will not be
              offered for the truth unless he testifies, but in any event will be
              offered for its impact on Plaintiff’s state of mind.
K             INTENTIONALLY OMITTED

L             September 15, 2014 E-mail from AcademicJobsOnline to
              Rolena Adorno, BYRNE004777-78

              PLAINTIFF’S OBJECTION: 106, 402, 403, 901

              DEFENDANT’S RESPONSE TO OBJECTION: This document
              is an email from Yale’s email system that reflects that
              Professor Adorno was requested to provide recommendations
              for Plaintiff on or around the dates indicated.

M             INTENTIONALLY OMITTED

N             September 18, 2014 E-mail from Rolena Adorno to Susan
              Byrne, BYRNE004774-76

              PLAINTIFF’S OBJECTION: 402, 403, 801, 901

              DEFENDANT’S RESPONSE TO OBJECTION: This email
              provides relevant background for the timeline and
              circumstances of Plaintiff’s APL request. It is a business
              record, as it is an email from Yale’s email system.
O             October 1, 2014 E-mail from Susan Byrne to Rolena Adorno,
              BYRNE005391-5401

              PLAINTIFF’S OBJECTION: 402, 403, 801, 901

              DEFENDANT’S RESPONSE TO OBJECTION: This email
              provides relevant background for the timeline and
              circumstances of Plaintiff’s APL request. It is a business
              record, as it is an email from Yale’s email system.
P             October 12, 2014 E-mail Roberto Gonzalez Echevarria to
              Rolena Adorno encl Letter of Rec for Susan Byrne,
              BYRNE005104-06

              PLAINTIFF’S OBJECTION:

                                     3
    Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 5 of 33




              DEFENDANT’S RESPONSE TO OBJECTION:
Q             INTENTIONALLY OMITTED

R             October 16, 2014 E-mail from Susan Byrne to Rolena Adorno,
              Roberto Gonzalez Echevarria & Noel Valis, BYRNE005018

              PLAINTIFF’S OBJECTION: 402, 403, 801, 901

              DEFENDANT’S RESPONSE TO OBJECTION: This email
              provides relevant background for the timeline and
              circumstances of Plaintiff’s APL request. It is a business
              record, as it is an email from Yale’s email system.
S             October 16, 2014 E-mail from Noel Valis to Rolena Adorno,
              BYRNE007512-13

              PLAINTIFF’S OBJECTION: 402, 403, 801, 901

              DEFENDANT’S RESPONSE TO OBJECTION: This email
              provides relevant background for the timeline and
              circumstances of Plaintiff’s APL request. It is a business
              record, as it is an email from Yale’s email system.
T             INTENTIONALLY OMITTED

U             October 17, 2014 E-mail from Susan Byrne to Rolena Adorno,
              Roberto Gonzalez Echevarria & Noel Valis, BYRNE005408-
              5418

              PLAINTIFF’S OBJECTION: 402, 403, 801, 901

              DEFENDANT’S RESPONSE TO OBJECTION: This email
              provides relevant background for the timeline and
              circumstances of Plaintiff’s APL request. It is a business
              record, as it is an email from Yale’s email system, and it
              contains an admission of Plaintiff.
V             October 17, 2014 E-mail from Rolena Adorno to Susan Byrne,
              Roberto Gonzalez Echevarria & Noel Valis, BYRNE004950-52

              PLAINTIFF’S OBJECTION: 402, 403, 801, 901

              DEFENDANT’S RESPONSE TO OBJECTION: This email
              provides relevant background for the timeline and
              circumstances of Plaintiff’s APL request. It is a business
              record, as it is an email from Yale’s email system, and it
              contains an admission of Plaintiff.


                                    4
    Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 6 of 33




W             October 17, 2014 E-mail from Roberto Gonzalez Echevarria to
              Rolena Adorno, BYRNE006838-40

              PLAINTIFF’S OBJECTION: 402, 403, 801, 901

              DEFENDANT’S RESPONSE TO OBJECTION: This email
              provides relevant background for the timeline and
              circumstances of Plaintiff’s APL request. It is a business
              record, as it is an email from Yale’s email system, and it
              contains an admission of Plaintiff.
X             October 17, 2014 E-mail from Noel Valis to Rolena Adorno
              encl. Roberto Gonzalez Echevarria Letter, BYRNE004858-60

              PLAINTIFF’S OBJECTION: 402, 403, 801, 901

              DEFENDANT’S RESPONSE TO OBJECTION: This email
              provides relevant background for the timeline and
              circumstances of Plaintiff’s APL request. It is a business
              record, as it is an email from Yale’s email system.
Y             INTENTIONALLY OMITTED

Z             October 17, 2014 E-mail from Rolena Adorno to Susan Byrne,
              Noel Valis, Roberto Gonzalez Echevarria, BYRNE006914-17

              PLAINTIFF’S OBJECTION: 402, 403, 801, 901

              DEFENDANT’S RESPONSE TO OBJECTION: This email
              provides relevant background for the timeline and
              circumstances of Plaintiff’s APL request. It is a business
              record, as it is an email from Yale’s email system, and it
              contains an admission of Plaintiff.
AA            October 18, 2014 Byrne Letter BYRNE008975 – 77

              PLAINTIFF’S OBJECTION: 402, 403, 801, 901

              DEFENDANT’S RESPONSE TO OBJECTION: This document
              provides relevant background for the timeline and
              circumstances of Plaintiff’s APL request. It is a business
              record, and it contains an admission of Plaintiff.
BA            October 18, 2014 E-mail Rolena Adorno to Noel Valis,
              BYRNE007211-12

              PLAINTIFF’S OBJECTION: 402, 403, 801, 901

              DEFENDANT’S RESPONSE TO OBJECTION: This email
              provides relevant background for the timeline and

                                    5
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 7 of 33




           circumstances of Plaintiff’s APL request. It is a business
           record, as it is an email from Yale’s email system.
CA         October 18, 2014 E-mail chain between Susan Byrne, Rolena
           Adorno, Noel Valis, Roberto Gonzalez Echevarria re APL,
           BYRNE004156-62

           PLAINTIFF’S OBJECTION: 402, 403, 801, 901

           DEFENDANT’S RESPONSE TO OBJECTION: This email
           provides relevant background for the timeline and
           circumstances of Plaintiff’s APL request. It is a business
           record, as it is an email from Yale’s email system, and it
           contains an admission of Plaintiff.
DA         October 18, 2014 E-mail John Mangan to FAS Dean, Diane
           Rodriguez & Robert Burger, BYRNE007446

           PLAINTIFF’S OBJECTION: 402, 403, 801, 901

           DEFENDANT’S RESPONSE TO OBJECTION: This email
           provides relevant background for the timeline and
           circumstances of Plaintiff’s APL request. It is a business
           record, as it is an email from Yale’s email system.
EA         October 22, 2014 E-mail from Mary Miller to John Mangan,
           BYRNE009345

           PLAINTIFF’S OBJECTION: 402, 403, 801, 901

           DEFENDANT’S RESPONSE TO OBJECTION: This email
           provides relevant background for the timeline and
           circumstances of Plaintiff’s APL request. It is a business
           record, as it is an email from Yale’s email system.
FA         INTENTIONALLY OMITTED

GA         November 3, 2014 E-mail from John Mangan to John Dovidio,
           Rolena Adorno, BYRNE006831
           PLAINTIFF’S OBJECTION: 402, 403, 801, 901

           DEFENDANT’S RESPONSE TO OBJECTION: This email
           provides relevant background for the timeline and
           circumstances of Plaintiff’s APL request. It is a business
           record, as it is an email from Yale’s email system.
HA         November 3, 2014 E-mail from Susan Byrne to John Mangan
           encl APL proposal, BYRNE009334-44

           PLAINTIFF’S OBJECTION: 402, 403, 801, 901


                                 6
     Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 8 of 33




               DEFENDANT’S RESPONSE TO OBJECTION: This email
               provides relevant background for the timeline and
               circumstances of Plaintiff’s APL request. It is a business
               record, as it is an email from Yale’s email system, and it
               contains an admission of Plaintiff.
IA             November 6, 2014 Letter from Rolena Adorno to Tamar
               Gendler, BYRNE004905-34

               PLAINTIFF’S OBJECTION: 402, 403, 801, 901

               DEFENDANT’S RESPONSE TO OBJECTION: This document
               provides relevant background for the timeline and
               circumstances of Plaintiff’s APL request. It is a business
               record.
JA             November 9, 2014 E-Mail from Rolena Adorno to Noel Valis,
               BYRNE4752-54

               PLAINTIFF’S OBJECTION: 402, 403, 801, 901

               DEFENDANT’S RESPONSE TO OBJECTION: This email
               provides relevant background for the timeline and
               circumstances of Plaintiff’s APL request. It is a business
               record, as it is an email from Yale’s email system.
KA             November 17, 2014 E-mail from Susan Byrne to Rolena
               Adorno, BYRNE004949

               PLAINTIFF’S OBJECTION: 402, 403, 801, 901

               DEFENDANT’S RESPONSE TO OBJECTION: This email
               provides relevant background for the timeline and
               circumstances of Plaintiff’s APL request. It is a business
               record, as it is an email from Yale’s email system.
LA             November 23, 2014 E-mail from John Dovidio to Rolena
               Adorno, BYRNE004992-96

               PLAINTIFF’S OBJECTION: 402, 403, 801, 901

               DEFENDANT’S RESPONSE TO OBJECTION: This email
               provides relevant background for the timeline and
               circumstances of Plaintiff’s APL request. It is a business
               record, as it is an email from Yale’s email system.
MA             November 23, 2014 E-mail from Rolena Adorno to John
               Dovidio, BYRNE009588-89

               PLAINTIFF’S OBJECTION: 106, 402, 403, 901


                                     7
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 9 of 33




           DEFENDANT’S RESPONSE TO OBJECTION: This email
           provides relevant background for the timeline and
           circumstances of Plaintiff’s APL request. It is a business
           record, as it is an email from Yale’s email system. It does not
           appear to be missing an attachment or otherwise be
           incomplete.
NA         December 3, 2014 E-mail from John Dovidio to John Mangan,
           Robert Burger, BYRNE006998

           PLAINTIFF’S OBJECTION: 402, 403, 801, 901

           DEFENDANT’S RESPONSE TO OBJECTION: This email
           provides relevant background for the timeline and
           circumstances of Plaintiff’s APL request. It is a business
           record, as it is an email from Yale’s email system.
OA         INTENTIONALLY OMITTED

PA         January 7, 2015 E-mail from John Dovidio to Rolena Adorno,
           BYRNE004894-95

           PLAINTIFF’S OBJECTION: 402, 403, 801, 901, 1001

           DEFENDANT’S RESPONSE TO OBJECTION: This email
           provides relevant background for the timeline and
           circumstances of Plaintiff’s APL request. It is a business
           record, as it is an email from Yale’s email system.
QA         January 8, 2015 E-mail from Susan Byrne to John Dovidio,
           Rolena Adorno, BYRNE007568-73

           PLAINTIFF’S OBJECTION: 402, 403, 801, 901, 1001

           DEFENDANT’S RESPONSE TO OBJECTION: This email
           provides relevant background for the timeline and
           circumstances of Plaintiff’s APL request. It is a business
           record, as it is an email from Yale’s email system, and it
           contains an admission of Plaintiff.
RA         January 9, 2015 E-mail from Susan Byrne to Rolena Adorno,
           John Dovidio, BYRNE014610-12

           PLAINTIFF’S OBJECTION: 106, 402, 403, 801, 901


           DEFENDANT’S RESPONSE TO OBJECTION: This email
           provides relevant background for the timeline and
           circumstances of Plaintiff’s APL request. It is a business
           record, as it is an email from Yale’s email system, and it

                                 8
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 10 of 33




            contains an admission of Plaintiff. It does not appear to be
            missing any attachment or otherwise be incomplete.
SA          January 15, 2015 E-mail from Noel Valis to Rolena Adorno
            BYRNE004005-06

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, as it is an email from Yale’s email system.
TA          January 15, 2015 E-mail from Noel Valis to Rolena Adorno,
            BYRNE004698-99

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s tenure consideration, as well as
            views of the strength of her work. It is a business record, as it
            is an email from Yale’s email system.
UA          January 15, 2015 E-mail from Rolena Adorno to Noel Valis,
            BYRNE007057-58

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s tenure consideration, as well as
            views of the strength of her work. It is a business record, as it
            is an email from Yale’s email system.
VA          January 16, 2015 E-mail from Noel Valis to Rolena Adorno,
            BYRNE007043-45

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, as it is an email from Yale’s email system.
WA          January 19, 2015 E-mail from Rolena Adorno to Roberto
            Gonzalez Echevarria, Noel Valis BYRNE004069-71

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email

                                   9
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 11 of 33




            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request, as well as an alleged
            retaliator’s understanding of Plaintiff’s accusations. It is a
            business record, as it is an email from Yale’s email system.
XA          January 25, 2015 E-mail from Noel Valis to Rolena Adorno,
            BYRNE005450-51

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, as it is an email from Yale’s email system, and it
            contains an admission of Plaintiff.
YA          January 29, 2015 Meeting notes from Rolena Adorno to Noel
            Valis, Roberto Echevarria, John Dovidio, BYRNE006920-22

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901, 1001

            DEFENDANT’S RESPONSE TO OBJECTION: This document
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, and it is a complete document.
ZA          January 30, 2015 E-mail from Rolena Adorno to Noel Valis,
            BYRNE006747-50

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901, 1001

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, as it is an email from Yale’s email system, and it is a
            complete document.
AB          January 30, 2015 E-mail from Rolena Adorno to Roberto
            Gonzalez Echevarria, BYRNE005227-30

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901, 1001

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, as it is an email from Yale’s email system, and it is a
            complete document.
BB          January 31, 2015 E-mail from Rolena Adorno to Roberto
            Gonzalez Echevarria, Noel Valis & John Dovidio,
            BYRNE006492-97

                                  10
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 12 of 33




            PLAINTIFF’S OBJECTION: 402, 403, 801, 901, 1001

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, as it is an email from Yale’s email system, and it .
CB          INTENTIONALLY OMITTED

DB          February 3, 2015 E-mail from Susan Byrne to Rolena Adorno
            encl APL proposal, BYRNE005154-64

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, as it is an email from Yale’s email system, and it
            contains an admission of Plaintiff.
EB          February 3, 2015 E-mail from Susan Byrne to Roberto
            Gonzalez Echevarria encl APL proposal, BYRNE007594-7604

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, as it is an email from Yale’s email system, and it
            contains an admission of Plaintiff.
FB          February 3, 2015 Committee Comments on SB APL draft,
            BYRNE004040-41

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901, 1001

            DEFENDANT’S RESPONSE TO OBJECTION: This document
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, and it is a complete document.
GB          February 3, 2015 E-mail from Susan Byrne to John Dovidio,
            John Mangan, BYRNE009410-20

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business

                                  11
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 13 of 33




            record, as it is an email from Yale’s email system, and it
            contains an admission of Plaintiff.
HB          February 3, 2015 E-mail Susan Byrne to Rolena Adorno,
            Roberto Gonzalez Echevarria & Noel Valis encl APL,
            BYRNE006470-80

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, as it is an email from Yale’s email system, and it
            contains an admission of Plaintiff.
IB          February 4, 2015 E-mail from Noel Valis to Rolena Adorno,
            BYRNE005448

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, as it is an email from Yale’s email system, and it
            contains an admission of Plaintiff.
JB          February 6, 2015 E-mail from Susan Byrne to Kathryn Lofton,
            BYRNE00864-65

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
KB          INTENTIONALLY OMITTED

LB          February 6, 2015 E-mail from Rolena Adorno to Noel Valis,
            Roberto Gonzalez Echevarria & John Dovidio, BYRNE006525

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request and the Defendant’s
            decision thereon. It is a business record, as it is an email
            from Yale’s email system.
MB          February 6, 2015 Department of Spanish and Portuguese
            meeting notes, BYRNE006923-28

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901, 1001


                                  12
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 14 of 33




            DEFENDANT’S RESPONSE TO OBJECTION: This document
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, and it is a complete document.
NB          INTENTIONALLY OMITTED

OB          February 8, 2015 E-mail from Rolena Adorno to Noel Valis encl
            Committee Meeting Minutes, BYRNE006637-43

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901, 1001

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, as it is an email from Yale’s email system, and it is a
            complete document.
PB          INTENTIONALLY OMITTED

QB          February 10, 2015 E-mail from Rolena Adorno to Noel Valis
            encl Calendar of Events, BYRNE006510-6517

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901, 1001

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, as it is an email from Yale’s email system, and it is a
            complete document.
RB          February 16, 2015 FASTAP Steps for Promotion,
            BYRNE007027-38

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
SB          February 25, 2015 Letter to Susan Byrne re APL denial,
            BYRNE006534

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This document
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record.
TB          February 26, 2015 E-mail from Rolena Adorno to Susan Byrne,
            BYRNE4601-02


                                  13
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 15 of 33




            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
UB          March 6, 2015 Letter to University obo Department of Spanish
            and Portuguese, BYRNE006874-76

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
VB          March 9, 2015 E-mail from Rolena Adorno to Diane Rodriguez,
            John Mangan, Jr., BYRNE006899-900

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s leave request in March 2015. It is
            a business record, as it is an email from Yale’s email system.
WB          March 9, 2015 E-mail from Susan Byrne with Yale Daily News,
            BYRNE009739-41

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
XB          March 10, 2015 E-mail from Rolena Adorno to herself,
            BYRNE005211-15

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
YB          March 12, 2015 E-mail from John Mangan to Susan Byrne,
            Rolena Adorno, Susan Hart, Susan Wheeler, Diane Rodriguez,
            FAS Dean, John Dovido, BYRNE007503

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s leave request. It is a business
            record, as it is an email from Yale’s email system.
ZB          March 12, 2015 E-mail from Susan Byrne to John Mangan,
            Rolena Adorno, Susan Hart, Susan Wheeler, Diane Rodriguez,
            FAS Dean, John Dovido, BYRNE007065-66

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901


                                  14
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 16 of 33




            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s leave request. It is a business
            record, as it is an email from Yale’s email system, and it
            contains an admission of Plaintiff.
AC          March 22, 2015 E-mail from Rolena Adorno to Noel Valis
            BYRNE003803-09

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, as it is an email from Yale’s email system, and it
            contains an admission of Plaintiff.
BC          March 23, 2015 E-mail from Pam Bosward to Amy Hungerford,
            John Dovidio, BYRNE014366-93

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
CC          INTENTIONALLY OMITTED

DC          INTENTIONALLY OMITTED

EC          INTENTIONALLY OMITTED

FC          INTENTIONALLY OMITTED

GC          March 26, 2015 Letter to B. Polak, L. Cooley, T. Gendler, J.
            Holloway, BYRNE007660

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
HC          INTENTIONALLY OMITTED

IC          March 30, 2015 E-mail from Susan Byrne to herself,
            BYRNE018971-79

            PLAINTIFF’S OBJECTION: 402, 403, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email from
            Yale’s email system is Plaintiff’s own writing and contains her
            admissions.
JC          March 30, 2015 Letter from Rolena Adorno to Susan Byrne,

                                  15
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 17 of 33




            BYRNE006589-92

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
KC          March 30, 2015 E-mail from Rolena Adorno to Susan Byrne
            BYRNE005366-70

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
LC          INTENTIONALLY OMITTED

MC          INTENTIONALLY OMITTED

NC          March 31, 2015 E-mail from Rolena Adorno to John Mangan,
            BYRNE005377-78

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
OC          April 1, 2015 Letter from Susan Byrne to Rolena Adorno,
            BYRNE006744-45

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
PC          INTENTIONALLY OMITTED

QC          April 1, 2015 E-mail Kenneth David Jackson to Rolena Adorno
            BYRNE003785-86

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
RC          INTENTIONALLY OMITTED
SC          April 13, 2015 E-mail from Rolena Adorno to Susan Byrne re
            Response, BYRNE005315-16

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
TC          INTENTIONALLY OMITTED

UC          INTENTIONALLY OMITTED


                                 16
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 18 of 33




VC          April 14, 2015 E-mail from Rolena Adorno to Tamar Gendler,
            John Mangan & FAS Dean, BYRNE005239-42

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:

WC          April 14, 2015 E-mail from Rolena Adorno to Susan Wheeler,
            BYRNE005177-96

            PLAINTIFF’S OBJECTION: 402, 403, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s tenure consideration. It is a
            business record, as it is an email from Yale’s email system
            and contain admissions of Plaintiff.
XC          INTENTIONALLY OMITTED

YC          April 15, 2015 E-mail from Noel Valis to Rolena Adorno,
            BYRNE005496-98

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, as it is an email from Yale’s email system, and it
            contains an admission of Plaintiff.
ZC          April 15, 2015 E-mails re Promotion Meeting, Response to
            Recusal Demand, BYRNE006498-6506

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
AD          April 16, 2015 E-mail from Noel Valis to Rolena Adorno,
            BYRNE006681-85

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, as it is an email from Yale’s email system, and it
            contains an admission of Plaintiff.
BD          April 16, 2015 E-mail from Noel Valis to Rolena Adorno,

                                 17
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 19 of 33




            BYRNE006688-89

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s APL request. It is a business
            record, as it is an email from Yale’s email system.
CD          April 26, 2015 E-mail from Rolena Adorno to Amy Hungerford,
            FAS Dean& John Dovidio, BYRNE005342-43

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
DD          May 4, 2015 E-mail from Rolena Adorno to herself encl. Ltr of
            Rec for Susan Byrne, BYRNE04806-08

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
ED          May 6, 2015 E-mail from Rolena Adorno to John Dovidio, Amy
            Hungerford, Tamar Gendler & Emily Bakemeier,
            BYRNE004831-32

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:

FD          May 6, 2015 E-mails between Rolena Adorno and Anne Cruz,
            BYRNE004780-83

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
GD          June 29, 2015 E-mail from Amy Hungerford to Tamar Gendler,
            Emily Bakemeier, John Dovidio, BYRNE006172

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
HD          July 16, 2015 Letter from Susan Byrne to Tamar Gendler,
            BYRNE007631

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:

                                 18
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 20 of 33




ID          July 23, 2015 E-mail from Rolena Adorno to Noel Valis,
            BYRNE006593-6613

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
JD          July 24, 2015 E-mail from Tamar Gendler to Susan Byrne John
            Dovidio, John Mangan, Amy Hungerford, BYRNE007632

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
KD          July 24, 2015 E-mail from Tamar Gendler to Noel Valis &
            Susan Byrne, BYRNE006482

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
LD          INTENTIONALLY OMITTED

MD          INTENTIONALLY OMITTED

ND          July 24, 2015 E-mail from Amy Hungerford to Noel Valis &
            John Dovidio, BYRNE005619-20

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
OD          July 26, 2015 E-mail from Noel Valis to K David Jackson,
            BYRNE004596

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:

PD          INTENTIONALLY OMITTED

QD          July 26, 2015 E-mail from Amy Hungerford to Noel Valis,
            BYRNE006666-67

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
RD          July 27, 2015 E-mail from Amy Hungerford to Noel Valis, John
            Dovidio, BYRNE004544


                                 19
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 21 of 33




            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
SD          July 27, 2015 E-mail from Noel Valis to himself re proposed
            referees, BYRNE006644-55

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
TD          July 27, 2015 E-mail from Noel Valis to Amy Hungerford, John
            Dovidio, BYRNE006528-30

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
UD          July 27, 2015 E-mail from Noel Valis to K. David Jackson, Amy
            Hungerford, John Dovidio, BRYNE004560-74

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
VD          July 27, 2015 E-mail from Noel Valis to Giuseppe Mazzotta,
            BYRNE04545-59

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
WD          July 28, 2015 E-mail from Amy Hungerford to Lawrence
            Manley, Noel Valis, John Dovidio, BYRNE011000

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
XD          July 28, 2015 E-mail from Noel Valis to Amy Hungerford, John
            Dovidio, BYRNE007661-62

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
YD          July 29, 2015 E-mail from Noel Valis to Amy Hungerford, John
            Dovidio, BYRNE007663

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
ZD          July 30, 2015 E-mail from Amy Hungerford to R. Howard

                                 20
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 22 of 33




            Bloch, BYRNE007633-34

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
AE          July 30, 2015 E-mail from Amy Hungerford to Noel Valis, R.
            Howard Bloch, BYRNE006112

            PLAINTIFF’S OBJECTION: 402, 403

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s tenure consideration, and
            demonstrates Yale’s compliance with tenure processes. It is a
            business record, as it is an email from Yale’s email system.
BE          August 4, 2015 E-mail from Amy Hungerford to Lawrence
            Manley, BYRNE010953-80

            PLAINTIFF’S OBJECTION: 402, 403, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s tenure consideration, and
            demonstrates Yale’s compliance with tenure processes. It is a
            business record, as it is an email from Yale’s email system.
CE          August 5, 2015 E-mail from Amy Hungerford to Lawrence
            Manley, BYRNE010945

            PLAINTIFF’S OBJECTION: 402, 403, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s tenure consideration, and
            demonstrates Yale’s compliance with tenure processes. It is a
            business record, as it is an email from Yale’s email system.
DE          August 5, 2015 E-mail from Amy Hungerford to Noel Valis,
            John Dovidio, BYRNE010984-85

            PLAINTIFF’S OBJECTION: 402, 403

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s tenure consideration, and
            demonstrates Yale’s compliance with tenure processes. It is a
            business record, as it is an email from Yale’s email system.
EE          August 6, 2015 E-mail from Noel Valis to Amy Hungerford,

                                 21
     Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 23 of 33




                John Dovidio, BYRNE007720-34

                PLAINTIFF’S OBJECTION:

                DEFENDANT’S RESPONSE TO OBJECTION:
FE              August 12, 2015 E-mail from Noel Valis to Amy Hungerford
                and John Dovidio, BYRNE005596-97

                PLAINTIFF’S OBJECTION:

                DEFENDANT’S RESPONSE TO OBJECTION:
GE              August 13, 2015 E-mail from Amy Hungerford to Noel Valis,
                John Dovidio, BYRNE005679-81

                PLAINTIFF’S OBJECTION:

                DEFENDANT’S RESPONSE TO OBJECTION:
HE              August 13, 2015 E-mail from Noel Valis to Amy Hungerford,
                John Dovidio, BYRNE005571-73

                PLAINTIFF’S OBJECTION:

                DEFENDANT’S RESPONSE TO OBJECTION:
IE              August 13, 2015 E-mail from Amy Hungerford to John Dovidio,
                BYRNE006125-28

                PLAINTIFF’S OBJECTION:

                DEFENDANT’S RESPONSE TO OBJECTION:
JE              August 13, 2015 E-mail from Amy Hungerford to Noel Valis,
                John Dovidio, BYRNE006691-94

                PLAINTIFF’S OBJECTION: 402, 801

                DEFENDANT’S RESPONSE TO OBJECTION: This email
                provides relevant background for the timeline and
                circumstances of Plaintiff’s tenure consideration, and
                demonstrates Yale’s compliance with tenure processes. It is a
                business record, as it is an email from Yale’s email system,
                and it contains an admission of Plaintiff.
KE              August 13, 2015 E-mail from Amy Hungerford to Noel Valis,
                BYRNE006524

                PLAINTIFF’S OBJECTION:

                DEFENDANT’S RESPONSE TO OBJECTION:

                                     22
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 24 of 33




LE          August 28, 2015 FdA External Referee Letter, BYRNE003621-
            28

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
ME          September 18, 2015 Faculty Handbook, Byrne000185-364

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
NE          October 3, 2015 E-mail from Susan Byrne to Frederick de
            Armas, BYRNE018969-70

            PLAINTIFF’S OBJECTION: 402, 403, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email from
            Yale’s email system is an admission of Plaintiff regarding her
            tenure application and job search outside Yale, which
            indicates she did not expect to get tenure.
OE          October 9, 2015 EGST External Referee Letter, BYRNE003640-
            41

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
PE          November 9, 2015 E-mail from Ileana Jara Yupanqui,
            BYRNE018980

            PLAINTIFF’S OBJECTION: 402, 403

            DEFENDANT’S RESPONSE TO OBJECTION: This document is
            intended to be used, if at all, on rebuttal and/or to refresh
            Plaintiff’s recollection if she denies knowledge of information
            about her job search in the fall of 2015, which indicates she
            did not expect to get tenure.
QE          November 1, 2015 E-mail from Tamar Gendler to Susan Byrne,
            BYRNE008945
            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
RE          November 28, 2015 E-mail from Frederick de Armas to Susan
            Byrne, BYRNE019026-27

            PLAINTIFF’S OBJECTION: 402, 403, 901


                                 23
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 25 of 33




            DEFENDANT’S RESPONSE TO OBJECTION: This email is
            from Yale’s email system and contains admissions of Plaintiff
            relating to her job search in the fall 2015, indicating she did
            not expect to get tenure.
SE          December 2015 FAS Ladder Faculty Promotion Handbook,
            017171–205

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
TE          INTENTIONALLY OMITTED

UE          INTENTIONALLY OMITTED

VE          December 1, 2015 Professor Steven Wilkinson – Notes,
            BYRNE01246-279

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
WE          December 3, 2015 E-mail from Noel Valis to Pam Bosward &
            Amy Hungerford, BYRNE005623-25

            PLAINTIFF’S OBJECTION: 402, 403

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s tenure consideration, and
            demonstrates Yale’s compliance with tenure processes. It is a
            business record, as it is an email from Yale’s email system.
XE          December 14, 2015 Draft Outline for Susan Byrne,
            BYRNE018974

            PLAINTIFF’S OBJECTION: 106, 402, 403, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This document is
            a business record that reflects information to be shared at the
            conclusion of the Climate Review regarding Plaintiff’s recusal
            request. This one-page document stands on its own.
YE          December 15, 2015 AC External Referee Letter, BYRNE003618-
            20

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
ZE          December 15, 2015 BB External Referee Letter, BYRNE003629-

                                 24
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 26 of 33




            33

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
AF          December 15, 2015 AW External Referee Letter,
            BYRNE003650-53

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
BF          December 17, 2015 E-mail from Susan Byrne to Kenneth David
            Jackson, BYRNE019028-29

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901


            DEFENDANT’S RESPONSE TO OBJECTION: WITHDRAWN
CF          December 17, 2015 E-mail from Susan Wheeler re Interfolio
            access BYRNE 3654

            PLAINTIFF’S OBJECTION: 402, 403

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s tenure consideration, and
            demonstrates Yale’s compliance with tenure processes. It is a
            business record, as it is an email from Yale’s email system.
DF          December 18, 2015 MMG External Referee Letter,
            BYRNE003642-43

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
EF          December 24, 2015 E-mail from John Dovidio to Susan Byrne,
            Tamar Gendler, Julie Sweigard, BYRNE010351-52

            PLAINTIFF’S OBJECTION: 106, 402, 403

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s tenure consideration, and
            demonstrates Yale’s compliance with tenure processes. It is a
            business record, as it is an email from Yale’s email system.
FF          December 26, 2015 RF External Referee Letter, BYRNE003634-
            39

                                 25
     Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 27 of 33




                PLAINTIFF’S OBJECTION:

                DEFENDANT’S RESPONSE TO OBJECTION:
GF              January 1, 2016 PG External Referee Letter, BYRNE003644-49

                PLAINTIFF’S OBJECTION:

                DEFENDANT’S RESPONSE TO OBJECTION:
HF              January 4, 2016 E-mail from Noel Valis to Susan Byrne,
                BYRNE05662-63

                PLAINTIFF’S OBJECTION: 402, 403, 901

                DEFENDANT’S RESPONSE TO OBJECTION: This email
                provides relevant background for the timeline and
                circumstances of Plaintiff’s tenure consideration, and
                demonstrates Yale’s compliance with tenure processes. It is a
                business record, as it is an email from Yale’s email system.
IF              INTENTIONALLY OMITTED

JF              January 19, 2016 Email from Tamar Gendler response to
                recusal request, BYRNE0010938-39

                PLAINTIFF’S OBJECTION:

                DEFENDANT’S RESPONSE TO OBJECTION:
KF              January 19, 2016 E-mail from Noel Valis to Tamar Gendler,
                Rolena Adorno, Roberto Gonzalez Echevarria, Anibal
                Gonzalez & Kenneth David Jackson, BRYNE006357-58

                PLAINTIFF’S OBJECTION:

                DEFENDANT’S RESPONSE TO OBJECTION:
LF              INTENTIONALLY OMITTED

MF              January 21, 2016 E-mail from Ilena Jara Yupanqui to Susan
                Byrne, BYRNE019018-23

                PLAINTIFF’S OBJECTION: 402, 403, 901

                DEFENDANT’S RESPONSE TO OBJECTION: This document is
                intended to be used, if at all, on rebuttal and/or to refresh
                Plaintiff’s recollection if she denies knowledge of information
                about her job search in late 2015/early 2016, which indicates
                she did not expect to get tenure.

                                     26
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 28 of 33




NF          February 1, 2016 E-mail from Susan Byrne to Kenneth David
            Jackson, BYRNE018994

            PLAINTIFF’S OBJECTION: 402, 403, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s tenure consideration, and
            demonstrates Yale’s compliance with tenure processes. It is a
            business record, as it is an email from Yale’s email system,
            and contains an admission of Plaintiff.
OF          February 3, 2016 Valis Summary of Tenure Review Committee
            Meeting, Byrne000374-76

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
PF          February 9, 2016 Bloch Notes

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
QF          February 9, 2016 Valis Notes on Ficino Book, BYRNE009037–
            49

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
RF          February 9, 2016 Valis Summary of Departmental Vote
            Meeting, BYRNE9051-57

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
SF          February 9, 2016 Roberto Gonzalez Echevarria Notes dated,
            Byrne000377-379

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
TF          February 9, 2016 Adorno Notes from Meeting, BYRNE009059–
            61

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:

                                 27
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 29 of 33




UF          INTENTIONALLY OMITTED

VF          February 11, 2016 E-mail from Noel Valis to John Dovidio,
            BYRNE005624

            PLAINTIFF’S OBJECTION: 106, 402, 403

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s tenure consideration, and
            demonstrates Yale’s compliance with tenure processes. It is a
            business record, as it is an email from Yale’s email system,
            and it is a complete document.
WF          February 15, 2016 Letter from Noel Valis to Susan Byrne,
            BYRNE017229

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
XF          February 15, 2016 E-mail from Noel Valis to John Dovidio,
            BYRNE006260
            PLAINTIFF’S OBJECTION: 402, 403, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s tenure consideration, and
            demonstrates Yale’s compliance with tenure processes. It is a
            business record, as it is an email from Yale’s email system.
YF          INTENTIONALLY OMITTED

ZF          February 15, 2016 E-mail from John Dovidio to Noel Valis,
            BYRNE010341

            PLAINTIFF’S OBJECTION: 402, 403

            DEFENDANT’S RESPONSE TO OBJECTION: This email
            provides relevant background for the timeline and
            circumstances of Plaintiff’s tenure consideration, and
            demonstrates Yale’s compliance with tenure processes. It is a
            business record, as it is an email from Yale’s email system.
AG          February 18, 2016 E-mail from Kevin Poole to Susan Byrne,
            BYRNE018988-89

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This document,

                                 28
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 30 of 33




            which is from Yale’s email system, contains admissions of
            Plaintiff regarding her tenure consideration and job search.
            Defendant does not offer the statements of Kevin Poole (who
            is listed as Plaintiff’s trial witness) for their truth, though
            reserves the right to cross-examine him regarding these
            statements if he does testify.
BG          March 3, 2016 Byrne Appeal Letter, P755–P770

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
CG          March 7, 2016 Offer Letter from UNLV, BYRNE018999–19007

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
DG          March 8, 2016 Byrne Appeal Letter, BYRNE009152–9165

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
EG          April 4, 2016 E-mail from Anita Levy to Susan Byrne,
            BYRNE019024-25
            PLAINTIFF’S OBJECTION: 402, 403

            DEFENDANT’S RESPONSE TO OBJECTION: WITHDRAWN
FG          April 21, 2016 Letter to Rolena Adorno from Cynthia Smith,
            BYRNE009178

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
GG          April 23, 2016 E-mail from Elizabeth Rhodes to Susan Byrne,
            BYRNE018992-93

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

            DEFENDANT’S RESPONSE TO OBJECTION: This document,
            which is from Yale’s email system, contains admissions of
            Plaintiff regarding her tenure consideration and state of mind.
            Defendant does not offer the statements of Elizabeth Rhodes
            for their truth but only for context for Plaintiff’s statements.
HG          May 8, 2016 E-mail from Monica Schinaider to Susan Byrne,
            BYRNE019016-17

            PLAINTIFF’S OBJECTION: 402, 403, 801, 901

                                  29
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 31 of 33




            DEFENDANT’S RESPONSE TO OBJECTION: This document,
            which is from Yale’s email system, contains admissions of
            Plaintiff regarding her tenure consideration and state of mind.
            Defendant does not offer the statements of Monica Schinaider
            for their truth but only for context for Plaintiff’s statements.
IG          May 13, 2016 E-mail from Susan Byrne to Ottavio DiCamillo,
            BYRNE019013-14

            PLAINTIFF’S OBJECTION: 402, 403

            DEFENDANT’S RESPONSE TO OBJECTION: This document,
            which is from Yale’s email system, contains admissions of
            Plaintiff regarding her tenure consideration and state of mind.
            Defendant does not offer the statements of Ottavio DiCamillo
            for their truth but only for context for Plaintiff’s statements.
JG          May 18, 2016 E-mail from Susan Byrne to Bruce Burningham,
            BYRNE019008-09

            PLAINTIFF’S OBJECTION: 402, 403

            DEFENDANT’S RESPONSE TO OBJECTION: This document,
            which is from Yale’s email system, contains admissions of
            Plaintiff regarding her tenure consideration and state of mind.
            Defendant does not offer the statements of Bruce Burningham
            for their truth but only for context for Plaintiff’s statements.
KG          May 24, 2016 E-mail from Elena PP to Susan Byrne,
            BYRNE018990-91

            PLAINTIFF’S OBJECTION: 402, 403

            DEFENDANT’S RESPONSE TO OBJECTION: This document,
            which is from Yale’s email system, contains admissions of
            Plaintiff regarding her tenure consideration and state of mind.
            Defendant does not offer the statements of Elena PP for their
            truth but only for context for Plaintiff’s statements.
LG          May 24, 2016 E-mail from Ernesto Estrella Cozar to Susan
            Byrne, BYRNE018995-97

            PLAINTIFF’S OBJECTION: 106, 402, 403

            DEFENDANT’S RESPONSE TO OBJECTION: This document,
            which is from Yale’s email system, contains admissions of
            Plaintiff regarding her tenure consideration and state of mind.
            Defendant does not offer the statements of Ernesto Estrella
            Cozar for their truth but only for context for Plaintiff’s

                                  30
 Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 32 of 33




            statements.
MG          June 6, 2016 E-mail from Susan Byrne to Virginia Guierrez,
            BYRNE019012

            PLAINTIFF’S OBJECTION: 402, 403

            DEFENDANT’S RESPONSE TO OBJECTION: This document,
            which is from Yale’s email system, contains admissions of
            Plaintiff regarding the timing of her move to Las Vegas and
            her state of mind as to the pending appeal. Defendant does
            not offer the statements of Ernesto Estrella Cozar for their
            truth but only for context for Plaintiff’s statements.
NG          June 12, 2016 E-mail from Susan Byrne to Ilana Danilowitz,
            David Post, Alice Menon, BYRNE019010-11

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
OG          June 24, 2016 E-mail from Susan Byrne to Ben Polak, Emily
            Bakemeier, BYRNE006076-77

            PLAINTIFF’S OBJECTION: 402, 403

            DEFENDANT’S RESPONSE TO OBJECTION: This document,
            which is from Yale’s email system, contains admissions of
            Plaintiff regarding her pending appeal and state of mind.
PG          June 24, 2016 E-mail from Emily Bakemeier to Ben Polak,
            Cynthia Smith, BYRNE009223

            PLAINTIFF’S OBJECTION: 402, 403

            DEFENDANT’S RESPONSE TO OBJECTION: This document,
            which is from Yale’s email system, is relevant to Yale’s
            compliance with its procedures in its treatment of Plaintiff.
QG          June 24, 2016 Letter from Susan Byrne to Ben Polak,
            BYRNE009247

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:
RG          July 16, 2016 E-mail from Provost Office to John Mangan,
            BYRNE006011-12

            PLAINTIFF’S OBJECTION:

            DEFENDANT’S RESPONSE TO OBJECTION:

                                 31
         Case 3:17-cv-01104-VLB Document 98-3 Filed 12/30/19 Page 33 of 33




      SG               July 25, 2016 E-mail from Cynthia Smith to Ben Polak,
                       BYRNE012197-204

                       PLAINTIFF’S OBJECTION:

                       DEFENDANT’S RESPONSE TO OBJECTION:
      TG               July 25, 2016 Faculty Review Committee Report
                       (BYRNE009113-17)

                       PLAINTIFF’S OBJECTION: 106

                       DEFENDANT’S RESPONSE TO OBJECTION: This document
                       constitutes the full report of the Committee, and it should not
                       include the separate note from the Committee expressing
                       opinions outside the scope of its purview.
      UG               August 5, 2016 Letter from Rolena Adorno to Ben Polak,
                       BYRNE013682-84

                       PLAINTIFF’S OBJECTION: 701, 402, 403, 901

                       DEFENDANT’S RESPONSE TO OBJECTION: WITHDRAWN
      VG               August 23, 2016 Letter from Ben Polak to Tamar Gendler,
                       BYRNE009244-45

                       PLAINTIFF’S OBJECTION:

                       DEFENDANT’S RESPONSE TO OBJECTION:
      WG               August 26, 2016 E-mail from Ben Polak to Susan Byrne encl
                       decision, BYRNE0009235-36

                       PLAINTIFF’S OBJECTION:

                       DEFENDANT’S RESPONSE TO OBJECTION:


4848-3619-4224, v. 1




                                             32
